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                           IN THE UNITED STATES DISTRICT COURT
                            FOR SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO. 1:18-cv-23992-JEM

   COMMODITY FUTURES TRADING
   COMMISSION,

                                 Plaintiff,

                         v.

   TIMOTHY JOSEPH ATKINSON, JAY
   PASSERINO, ALL IN PUBLISHING, LLC,
   & GASHER, INC.,

                           Defendants.
   _________________________________________/

   ORDER GRANTING RECEIVER’S FIRST INTERIM APPLICATION FOR AN ORDER
           APPROVING AND AUTHORIZING PAYMENT OF FEES AND
             EXPENSES OF RECEIVER AND HER PROFESSIONALS

          THIS CAUSE came before the Court upon the Receiver’s First Interim Application For

   An Order Approving and Authorizing Payment of Fees and Expenses of Receiver and Her

   Professionals (the “Application”) [ECF No. ____]. The Court, having reviewed the Application,

   noting that the fees and costs requested therein are reasonable, necessary and commensurate with

   the skills and experience required for the activities performed and described therein, and that no

   objection to the Application has been filed, and otherwise being fully advised in the matter, finds

   good cause to approve the Application and grant the relief requested therein.

          Accordingly, it is -

          ORDERED as follows:

                  1.     The Application is APPROVED.
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             A. AIP Related Work

                    2.      The total amount of fees and costs that the Receiver1 and her Lead Counsel,

             Damian & Valori LLP, incurred regarding work performed fulfilling the Receiver’s duties

             with respect to the AIP Defendants during the Application Period in the amount of

             $45,075.61 is hereby APPROVED.

                    3.      The Receiver is AUTHORIZED to pay the Receiver and her Lead Counsel,

             Damian & Valori LLP, the amount of $45,075.61 (comprised of $40,255.00 in fees, and

             $4,820.61 in costs) for work performed fulfilling the Receiver’s duties in relation to the

             AIP Defendants, to be paid from the Receiver’s fiduciary account for the AIP Defendants.

                    4.      The total amount of fees and costs that the Receiver’s Forensic Accountants,

             Kapila Mukamal, LLP, incurred regarding work performed fulfilling the Receiver’s duties

             with respect to the AIP Defendants during the Application Period in the amount of

             $24,308.12 is hereby APPROVED.

                    5.      The Receiver is AUTHORIZED to pay to her Forensic Accountants,

             Kapila Mukamal, LLP, the amount of $24,308.12 (comprised of $23,871.50 in fees, and

             $436.62 in costs) for work performed fulfilling the Receiver’s duties in relation to the AIP

             Defendants, to be paid from the Receiver’s fiduciary account for the AIP Defendants.

             B. Gasher Related Work

                    6.      The total amount of fees and costs that the Receiver and her Lead Counsel,

             Damian & Valori LLP, incurred regarding work performed fulfilling the Receiver’s duties




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       Capitalized terms not defined herein shall have the same ascribed meaning as in the Application.
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         with respect to the Gasher Defendants during the Application Period in the amount of

         $33,208.23 is hereby APPROVED.

                7.     The Receiver is AUTHORIZED to pay the Receiver and her Lead Counsel,

         Damian & Valori LLP, the amount of $33,208.23 (comprised of $31,751.00 in fees, and

         $1,457.23 in costs) for work performed fulfilling the Receiver’s duties in relation to the

         Gasher Defendants, to be paid from the Receiver’s fiduciary account for the Gasher

         Defendants.

                8.     The total amount of fees and costs that the Receiver’s Forensic Accountants,

         Kapila Mukamal, LLP, incurred regarding work performed fulfilling the Receiver’s duties

         with respect to the Gasher Defendants during the Application Period in the amount of

         $18,885.73 is hereby APPROVED.

                9.     The Receiver is AUTHORIZED to pay to her Forensic Accountants,

         Kapila Mukamal, LLP, the amount of $18,885.73 (comprised of $18,449.00 in fees, and

         $436.73 in costs) for work performed fulfilling the Receiver’s duties in relation to the

         Gasher Defendants, to be paid from the Receiver’s fiduciary account for the Gasher

         Defendants.

         C. General Receivership Matters

                10.    The total amount of fees and costs that the Receiver and her Lead Counsel,

         Damian & Valori LLP, incurred regarding work performed fulfilling the Receiver’s duties

         with respect to the General Receivership Matters during the Application Period in the

         amount of $39,522.39 is hereby APPROVED.

                11.    The Receiver is AUTHORIZED to pay the Receiver and her Lead Counsel,

         Damian & Valori LLP, the amount of $39,522.39 (comprised of $38,192.00 in fees, and


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          $1,330.39 in costs) for work performed fulfilling the Receiver’s duties in relation to

          General Receivership Matters, of which $19,761.19 shall be paid from the Receiver’s

          fiduciary account for the AIP Defendants and $19,761.20 shall be paid from the Receiver’s

          fiduciary account for the Gasher Defendants.

                 12.     The Court reserves final approval of all fees approved herein until such time

          as the Receiver is discharged of her duties in this matter and/or final disbursement of funds

          held by the Estate.



          DONE AND ORDERED in Miami, Florida, this ____ day of ___________, 2019.




                                                ________________________________
                                                The Honorable Jose E. Martinez
                                                United States District Judge



   Copies to:    All Counsel of Record




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